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                                          17   and Oren Alexander

                                          18                                   UNITED STATES DISTRICT COURT

                                          19                             NORTHERN DISTRICT OF CALIFORNIA

                                          20                                      SAN FRANCISCO DIVISION

                                          21

                                          22   SIDE, INC.,                                       Case No.: 3:24-CV-07135-WHO

                                          23                      Plaintiff,                     JOINT STATUS REPORT,
                                                                                                 STIPULATION AND [PROPOSED]
                                          24          v.                                         ORDER TO EXTEND TIME TO FILE
                                                                                                 REPLY
                                          25   OFFICIAL PARTNERS NEW YORK, LLC,
                                               TAL ALEXANDER, and OREN ALEXANDER,                Amended Complaint Filed: January 17, 2025
                                          26                                                     Trial Date: None
                                                                  Defendants.
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                                               STIPULATION TO EXTEND TIME TO FILE REPLY                           Case No.: 3:24-CV-07135-WHO
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                                           1          Pursuant to the Court’s March 26, 2025 order (Dkt. 101) and the Parties’ April 1, 2025 Joint

                                           2   Status Report (Dkt. 105), Plaintiff Side, Inc. (“Plaintiff” or “Side”) and Defendants Official

                                           3   Partners New York, LLC (“Official Partners”), Tal Alexander, and Oren Alexander (the

                                           4   “Alexanders”) (with Official Partners, “Defendants”) (collectively, the “Parties”) submit this

                                           5   further Joint Status Report summarizing the Parties’ discussions since the April 1, 2025 Joint Status

                                           6   Report, and hereby further stipulate and agree by and through their counsel of record as follows.

                                           7   I.     JOINT STATUS REPORT
                                           8          The Parties have reached a settlement in principle that they are continuing to work on

                                           9   finalizing. The Parties agree that the Preliminary Injunction should stay in place unmodified at this

                                          10   time and do not seek further action from the Court at this moment, and propose to submit a further

                                          11   status update by Monday, April 14, 2025.

                                          12   II.    STIPULATION AND [PROPOSED] ORDER
F ENWICK & W EST LLP




                                          13          On March 30, 2025, the Parties filed a joint Stipulation and Proposed Order stipulating,
                       ATTORNEYS AT LAW




                                          14   agreeing, and jointly requesting that the Court extend the deadline for Plaintiff to file its Reply to

                                          15   Defendant’s Opposition to the Motion to Enforce the Preliminary Injunction (Dkt. 98) to April 7,

                                          16   2025. (Dkt. 102). On March 31, 2025, the Court granted the Stipulation and ordered that Plaintiff’s

                                          17   reply was now due on April 7, 2025. (Dkt. 104).

                                          18          As noted, the Parties have reached a settlement in principle that they are working on

                                          19   finalizing. The Parties agree that further extending the time for Side’s reply will allow the

                                          20   settlement to be finalized and thereby preserve judicial resources.

                                          21          To allow time for the settlement to be finalized, the Parties stipulate and agree, and jointly

                                          22   request, that this Court extend the deadline for this filing seven days, to Monday, April 14, 2025.

                                          23          IT IS SO STIPULATED.

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                                           1   Dated: April 7, 2025                                    BLACK SREBNICK

                                           2
                                                                                                  By: Howard M. Srebnick
                                           3                                                          HOWARD M. SREBNICK
                                                                                                      Attorneys for Defendants
                                           4                                                          Official Partners New York, LLC,
                                                                                                      Tal Alexander, and Oren Alexander
                                           5

                                           6

                                           7   Dated: April 7, 2025                                    FENWICK & WEST LLP

                                           8                                                      By: Catherine D. Kevane
                                           9                                                          CATHERINE D. KEVANE
                                                                                                      Attorneys for Plaintiff
                                          10                                                          Side, Inc.

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                                          12                                              ATTESTATION
F ENWICK & W EST LLP




                                          13            Pursuant to Civil Local Rule 5-(i)(3), the filer of this document attests that all signatories
                       ATTORNEYS AT LAW




                                          14   have conferred in its filing.

                                          15                                                             /s/ Catherine D. Kevane
                                                                                                        Catherine D. Kevane
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                                          18                                          [PROPOSED] ORDER
                                          19            Plaintiff Side’s time to file the reply memorandum in further support of the Motion to

                                          20   Enforce the Preliminary Injunction is extended to April 14, 2025.

                                          21            IT IS SO ORDERED.

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                                          23   Dated:
                                                                                                       Honorable William H. Orrick
                                          24                                                           United States District Judge
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                                               STIPULATION TO EXTEND TIME TO FILE REPLY           2                       Case No.: 3:24-CV-07135-WHO
